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 1
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 4
     Email: davidantonlaw@gmail.com
 5
     Attorneys for Relator McLaughlin
 6

 7                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
 8
                                       SAN FRANCISCO DIVISION
 9
       UNITED STATES OF AMERICA ex rel.                         Case No. 3:14-cv-01509
10     KEVIN MCLAUGHLIN,
                                                         NOTICE OF MOTION AND MOTION
11                          Plaintiffs,                  TO WITHDRAW AS COUNSEL
                     v.                                  WITHOUT CLIENT CONSENT
12

13     SHAW ENVIRONMENTAL &
       INFRASTRUCTURE, INC., et al.,                    Date:               March 10, 2025
14                                                      Time:               9:30 a.m.
                            Defendants.                 Courtroom:          Courtroom C 15th Floor
15                                                      Magistrate Judge:   Hon. Sally Kim
      _____________________________________
16

17   TO ALL PARTIES AND COUNSEL OF RECORD:

18          PLEASE TAKE NOTICE that on March 10, 2025, at 9:30 a.m. or as soon thereafter as

19   can be heard, in Courtroom C 15th Floor of the United States District Court, in and for the
20
     Northern District of California, located at 450 Golden Gate Avenue, San Francisco, CA, David C.
21
     Anton, counsel of record for Relator Kevin McLaughlin, will seek to withdraw as counsel of
22
     record for Relator McLaughlin without the Relators’ consent. This motion will be based on the
23
     fact that irreconcilable differences have emerged between Counsel Anton and Relator
24

25   McLaughlin of such severity and duration that attorney Anton can no longer, in good

26   consciousness, continue to represent Relator McLaughlin.
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     NOTICE OF MOTION AND MOTION TO WITHDRAW AS COUNSEL WITHOUT CLIENT CONSENT
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 1          This Motion will be based upon this Notice of Motion and Motion, the Declaration of
 2   David Anton, the Ex Parte Under Seal Declaration of David Anton, and the Points and
 3
     Authorities which are served and filed herewith, and any oral argument that the Court may hear.
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     Dated: February 3, 2025                            Respectfully submitted,
 5
                                                        _/s/__David Anton_____________________
 6                                                      David Anton
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     NOTICE OF MOTION AND MOTION TO WITHDRAW AS COUNSEL WITHOUT CLIENT CONSENT
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